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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

    In re:
                                                                   Chapter 11
    WOODBRIDGE GROUP OF COMPANIES, LLC,
    et al., 1                                                      Case No. 17-12560 (JKS)

                     Remaining Debtors.                            (Jointly Administered)

    MICHAEL GOLDBERG, in his capacity as
    Liquidating Trustee of the WOODBRIDGE
    LIQUIDATION TRUST,
                                                                   Adversary Proceeding
                     Plaintiff,                                    Case No. 19-51064 (JKS)

              vs.

    SESCO BENEFIT SERVICES, INC., a Tennessee
    Corporation; and PETER HOLLER, an individual,

                     Defendants.

         ANSWER TO COMPLAINT OBJECTING TO CLAIMS AND
  COUNTERCLAIMING FOR AVOIDANCE AND RECOVERY OF AVOIDABLE
TRANSFERS, FOR EQUITABLE SUBORDINATION, FOR SALE OF UNREGISTERED
      SECURITIES, FRAUD, AND FOR AIDING AND ABETTING FRAUD

             Sesco Benefit Services, Inc. and Peter Holler (the “Defendants”), by and through their

undersigned counsel, hereby answer the Complaint Objecting to Claims and Counterclaiming for

Avoidance and Recovery of Avoidable Transfers, for Equitable Subordination, for Sale of

Unregistered Securities, Fraud, and for Aiding and Abetting Fraud (the “Complaint”) filed by

Michael Goldberg, in his capacity as Liquidating Trustee of the Woodbridge Liquidation Trust

(the “Plaintiff”), as follows:




1
 The Remaining Debtors and the last four digits of their respective federal tax identification numbers are as follows:
Woodbridge Group of Companies, LLC (3603) and Woodbridge Mortgage Investment Fund 1, LLC (0172).


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                                     NATURE OF THE ACTION

        1.         The Defendants lack knowledge or information sufficient to form a belief about

the truth of the allegations set forth in paragraph 1, and therefore deny such allegations.

        2.         The Defendants lack knowledge or information sufficient to form a belief about

the truth of the allegations set forth in paragraph 2, and therefore deny such allegations.

        3.         The Defendants deny the allegations set forth in paragraph 3 of the Complaint.

                                    JURISDICTION AND VENUE

        4.         The Defendants admit the allegations set forth in paragraph 4 of the Complaint.

        5.         The Defendants admit the allegations set forth in paragraph 5 of the Complaint.

                                            THE PARTIES

        6.         The Defendants do not respond to the allegations set forth in paragraph 6 in that it

states an argument and conclusion of law as to which no response is required. To the extent a

response is required, Defendants deny such allegations.

        7.         The Defendants do not respond to the allegations set forth in paragraph 7 in that it

states an argument and conclusion of law as to which no response is required. To the extent a

response is required, Defendants deny such allegations.

        8.         The Defendants do not respond to the allegations set forth in paragraph 8 in that it

states an argument and conclusion of law as to which no response is required. To the extent a

response is required, Defendants deny such allegations.

        9.         The Defendants do not respond to the allegations set forth in paragraph 9 in that it

states an argument and conclusion of law as to which no response is required. To the extent a

response is required, Defendants deny such allegations.




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        10.        The Defendants do not respond to the allegations set forth in paragraph 10 in that

it states an argument and conclusion of law as to which no response is required. To the extent a

response is required, Defendants deny such allegations.

        11.        The Defendants do not respond to the allegations set forth in paragraph 11 in that

it states an argument and conclusion of law as to which no response is required. To the extent a

response is required, Defendants deny such allegations.

        12.        The Defendants do not respond to the allegations set forth in paragraph 12 in that

it states an argument and conclusion of law as to which no response is required. To the extent a

response is required, Defendants deny such allegations.

        13.        The Defendants admit the allegations set forth in paragraph 13 of the Complaint.

        14.        The Defendants deny the allegations set forth in paragraph 14 of the Complaint.

                                     FACTUAL BACKGROUND

        15.        Paragraph 15 states legal conclusions to which no responses are required. To the

extent responses are required, the Defendants lack knowledge or information sufficient to form a

belief about the truth of the allegations set forth in paragraph 15, and therefore deny such

allegations.

        16.        Paragraph 16 states legal conclusions to which no responses are required. To the

extent responses are required, the Defendants lack knowledge or information sufficient to form a

belief about the truth of the allegations set forth in paragraph 16, and therefore deny such

allegations.

        17.        The Defendants lack knowledge or information sufficient to form a belief about

the truth of the allegations set forth in paragraph 17, and therefore deny such allegations.




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        18.        The Defendants lack knowledge or information sufficient to form a belief about

the truth of the allegations set forth in paragraph 18, and therefore deny such allegations.

        19.        The Defendants lack knowledge or information sufficient to form a belief about

the truth of the allegations set forth in paragraph 19, and therefore deny such allegations.

        20.        The Defendants admit the allegations set forth in the first sentence of paragraph

20 of the Complaint. Defendants deny the remaining allegations set forth in paragraph 20 of the

Complaint.

        21.        The Defendants deny the allegations set forth in paragraph 21 of the Complaint.

        22.        Defendants deny that Peter Holler received any of the 90 Day Transfers. The

Defendants admit the remaining allegations set forth in paragraph 22 of the Complaint.

        23.        Defendants deny that Peter Holler received any of the Two Year Transfers. The

Defendants admit the remaining allegations set forth in paragraph 23 of the Complaint.

                                    FIRST CLAIM FOR RELIEF

         Avoidance and Recovery of Preferential Transfers (against Defendant Sesco)

        24.        As their response to paragraph 24, the Defendants repeat, reallege, and

incorporate by reference their response to paragraphs 1 through 23 as if fully set forth herein.

        25.        The Defendants lack knowledge or information sufficient to form a belief about

the truth of the allegations set forth in paragraph 25, and therefore deny such allegations.

        26.        The Defendants admit that the 90 Day Transfers were made to defendant Sesco on

account of an antecedent debt, and deny the remaining allegations set forth in paragraph 26 of

the Complaint.

        27.        The Defendants lack knowledge or information sufficient to form a belief about

the truth of the allegations set forth in paragraph 27, and therefore deny such allegations.



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        28.        The Defendants deny the allegations set forth in paragraph 28 of the Complaint.

                                   SECOND CLAIM FOR RELIEF

    Avoidance and Recovery of Actual Intent Fraudulent Transfers – Bankruptcy Code

        29.        As their response to paragraph 29, the Defendants repeat, reallege, and

incorporate by reference their response to paragraphs 1 through 28 as if fully set forth herein.

        30.        The Defendants lack knowledge or information sufficient to form a belief about

the truth of the allegations set forth in paragraph 30, and therefore deny such allegations.

        31.        The Defendants lack knowledge or information sufficient to form a belief about

the truth of the allegations set forth in paragraph 31, and therefore deny such allegations.

        32.        The Defendants deny the allegations set forth in paragraph 32 of the Complaint.

        33.        The Defendants deny the allegations set forth in paragraph 33 of the Complaint.

                                    THIRD CLAIM FOR RELIEF

     Avoidance and Recovery of Constructive Fraudulent Transfers – Bankruptcy Code

        34.        As their response to paragraph 34, the Defendants repeat, reallege, and

incorporate by reference their response to paragraphs 1 through 33 as if fully set forth herein.

        35.        The Defendants lack knowledge or information sufficient to form a belief about

the truth of the allegations set forth in paragraph 35, and therefore deny such allegations.

        36.        The Defendants deny the allegations set forth in paragraph 36 of the Complaint.

        37.        The Defendants deny the allegations set forth in paragraph 37 of the Complaint.

        38.        The Defendants deny the allegations set forth in paragraph 38 of the Complaint.




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                                  FOURTH CLAIM FOR RELIEF

        Avoidance acid Recovery of Actual Intent Voidable Transactions – State Law

        39.        As their response to paragraph 39, the Defendants repeat, reallege, and

incorporate by reference their response to paragraphs 1 through 38 as if fully set forth herein.

        40.        The Defendants lack knowledge or information sufficient to form a belief about

the truth of the allegations set forth in paragraph 40, and therefore deny such allegations.

        41.        The Defendants lack knowledge or information sufficient to form a belief about

the truth of the allegations set forth in paragraph 41, and therefore deny such allegations.

        42.        The Defendants deny the allegations set forth in paragraph 42 of the Complaint.

        43.        The Defendants lack knowledge or information sufficient to form a belief about

the truth of the allegations set forth in paragraph 43, and therefore deny such allegations.

        44.        The Defendants deny the allegations set forth in paragraph 44 of the Complaint.

        45.        The Defendants deny the allegations set forth in paragraph 45 of the Complaint.

                                    FIFTH CLAIM FOR RELIEF

         Avoidance and Recovery of Constructive Voidable Transactions – State Law

        46.        As their response to paragraph 46, the Defendants repeat, reallege, and

incorporate by reference their response to paragraphs 1 through 45 as if fully set forth herein.

        47.        The Defendants lack knowledge or information sufficient to form a belief about

the truth of the allegations set forth in paragraph 47, and therefore deny such allegations.

        48.        The Defendants lack knowledge or information sufficient to form a belief about

the truth of the allegations set forth in paragraph 48, and therefore deny such allegations.

        49.        The Defendants deny the allegations set forth in paragraph 49 of the Complaint.




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        50.        The Defendants lack knowledge or information sufficient to form a belief about

the truth of the allegations set forth in paragraph 50, and therefore deny such allegations.

        51.        The Defendants deny the allegations set forth in paragraph 51 of the Complaint.

        52.        The Defendants deny the allegations set forth in paragraph 52 of the Complaint.

                                    SIXTH CLAIM FOR RELIEF

                       Objection to Claims (Bankruptcy Code Section 502(d))

        53.        As their response to paragraph 53, the Defendants repeat, reallege, and

incorporate by reference their response to paragraphs 1 through 52 as if fully set forth herein.

        54.        The Defendants deny the allegations set forth in paragraph 54 of the Complaint.

        55.        The Defendants deny the allegations set forth in paragraph 55 of the Complaint.

                                  SEVENTH CLAIM FOR RELIEF

                                  Equitable Subordination of Claims

        56.        As their response to paragraph 56, the Defendants repeat, reallege, and

incorporate by reference their response to paragraphs 1 through 55 as if fully set forth herein.

        57.        The Defendants deny the allegations set forth in paragraph 57 of the Complaint.

        58.        The Defendants deny the allegations set forth in paragraph 58 of the Complaint.

        59.        The Defendants deny the allegations set forth in paragraph 59 of the Complaint.

        60.        The Defendants deny the allegations set forth in paragraph 60 of the Complaint.

        61.        The Defendants deny the allegations set forth in paragraph 61 of the Complaint.

                                   EIGHTH CLAIM FOR RELIEF

         Sale of Unregistered Securities (Securities Act Sections 5(a), 5(c), and 12(a))

        62.        As their response to paragraph 62, the Defendants repeat, reallege, and

incorporate by reference their response to paragraphs 1 through 61 as if fully set forth herein.



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        63.        The Defendants deny the allegations set forth in paragraph 63 of the Complaint.

        64.        The Defendants lack knowledge or information sufficient to form a belief about

the truth of the allegations set forth in paragraph 64, and therefore deny such allegations.

        65.        The Defendants deny the allegations set forth in paragraph 65 of the Complaint.

        66.        The Defendants deny the allegations set forth in paragraph 66 of the Complaint.

        67.        The Defendants deny the allegations set forth in paragraph 67 of the Complaint.

        68.        The Defendants deny the allegations set forth in paragraph 68 of the Complaint.

                                    NINTH CLAIM FOR RELIEF
                                                 Fraud
        69.        As their response to paragraph 69, the Defendants repeat, reallege, and

incorporate by reference their response to paragraphs 1 through 68 as if fully set forth herein.

        70.        The Defendants deny the allegations set forth in paragraph 70 of the Complaint.

        71.        The Defendants deny the allegations set forth in paragraph 71 of the Complaint.

        72.        The Defendants deny the allegations set forth in paragraph 72 of the Complaint.

        73.        The Defendants deny the allegations set forth in paragraph 73 of the Complaint.

        74.        The Defendants deny the allegations set forth in paragraph 74 of the Complaint.

                                   TENTH CLAIM FOR RELIEF
                                      Aiding and Abetting Fraud
        75.        As their response to paragraph 75, the Defendants repeat, reallege, and

incorporate by reference their response to paragraphs 1 through 74 as if fully set forth herein.

        76.        The Defendants lack knowledge or information sufficient to form a belief about

the truth of the allegations set forth in paragraph 76, and therefore deny such allegations.

        77.        The Defendants deny the allegations set forth in paragraph 77 of the Complaint.

        78.        The Defendants deny the allegations set forth in paragraph 78 of the Complaint.



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        79.        The Defendants deny the allegations set forth in paragraph 79 of the Complaint.

        80.        The Defendants deny the allegations set forth in paragraph 80 of the Complaint.

                                        PRAYER FOR RELIEF

                   The Defendants deny that Plaintiff is entitled to any of the relief requested in the

Prayer for Relief paragraph.

                                               DEFENSES

                                  FIRST AFFIRMATIVE DEFENSE

        The Complaint fails to state a claim upon which relief can be granted.

                                SECOND AFFIRMATIVE DEFENSE

        The claims alleged in the Complaint are barred by the applicable statutes of limitations.

                                 THIRD AFFIRMATIVE DEFENSE

        The claims in the Complaint are barred by the intentional misconduct of the Debtors.

                                FOURTH AFFIRMATIVE DEFENSE

        Plaintiff’s claims are barred by the doctrine of setoff and/or recoupment and/or release

and waiver.

                                  FIFTH AFFIRMATIVE DEFENSE

        Fraud on the part of the Defendants has not been plead with the requisite particularity.

                                  SIXTH AFFIRMATIVE DEFENSE

        Defendants are entitled to equitable indemnity from the Debtors due to the Debtors’

intentional misconduct.




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                            SEVENTH AFFIRMATIVE DEFENSE

        Plaintiff may not recover the alleged preferential transfers because the parties intended

the transfers to be part of a contemporaneous exchange for new value given to the Debtors, and

the transfers were in fact, substantially contemporaneous under 11 U.S.C. § 547(c)(1).

                             EIGHTH AFFIRMATIVE DEFENSE

        The Transfers may not be avoided by Plaintiff by reason that the receipt of such transfers

was in the ordinary course of business under 11 U.S.C. § 547(c)(2).

                              NINTH AFFIRMATIVE DEFENSE

        The Transfers may not be avoided by reason of the new value provided by the

Defendants pursuant to 11 U.S.C. § 547(c)(4) because the Defendants provided new value to or

for the benefit of the Debtors following certain payments.

                              TENTH AFFIRMATIVE DEFENSE

        Some or all of the transfers described in the Complaint were made to Defendants in

payment of a debt in good faith, and without knowledge of the avoidability of the alleged

transfer pursuant to 11 U.S.C. § 550(b).

                           ELEVENTH AFFIRMATIVE DEFENSE

        Some or all of the transfers described in the Complaint are not avoidable because

Defendants took in good faith and for reasonably equivalent value pursuant to California Code §

3439.08.

                            TWELFTH AFFIRMATIVE DEFENSE

        The claims set forth in the Complaint are barred under the doctrines of waiver, release,

laches, unclean hands, in pari delicto, and/or estoppel.




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        Defendants reserve the right to allege other affirmative defenses, if any, as they become

known during the course of discovery and specifically reserves the right to amend their answer to

allege such affirmative defenses as they become known. Further, to the extent that any of the

stated affirmative defenses are deemed to be in the nature of counterclaims, Defendants reserve

the right to prosecute them as such.

                                  JURY TRIAL DEMANDED

        The Defendants demand a jury trial in this adversary proceeding.

                     STATEMENT UNDER DEL. BANKR. L.R. 7012-1

        The Defendants do not consent to the entry of final orders or judgment by the Court.

 Dated: February 4, 2022                          COZEN O’CONNOR

                                                  /s/ Thomas M. Horan
                                                  Thomas M. Horan (DE Bar No. 4641)
                                                  1201 N. Market St., Suite 1001
                                                  Wilmington, DE 19801
                                                  Telephone: (302) 295-2045
                                                  E-mail: thoran@cozen.com

                                                  Counsel to Sesco Benefit Services, Inc. and
                                                  Peter Holler




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